Case 3:16-cv-02054-JAH-BLM Document 118 Filed 05/31/22 PageID.1847 Page 1 of 2




    1
    2
    3
    4
    5
    6
    7
                             UNITED STATES DISTRICT COURT
    8
                          SOUTHERN DISTRICT OF CALIFORNIA
    9
   10
                                                 Lead Case No. 16-cv-02054-JAH-BLM
   11 In re SEQUENOM, INC.
                                                 CLASS ACTION
   12 STOCKHOLDER LITIGATION
                                                 ORDER WITHDRAWING MOTION
   13                                           TO DISMISS AND SETTING BRIEFING
                                                SCHEDULE FOR AMENDED MOTION
   14 This Document Relates To:                 TO DISMISS
   15        ALL ACTIONS.
   16
   17        On May 27, 2022, the parties appeared for a status conference addressing
   18 Defendants’ pending motion to dismiss. The Court discussed the status of the
   19 pending motion which includes supplemental briefing and numerous notices of
   20 recent authority and responses to the notices. Upon further review of the record and
   21 considering the policy supporting judicial economy, the Court finds it appropriate to
   22 direct the parties to file amended briefs that incorporate all arguments the parties
   23 wish the Court to consider in ruling on the motion to dismiss, including those
   24 arguments in the original briefs, supplemental briefs and notices of recent authority
   25 and responses the parties request the Court review.
   26        Accordingly, IT IS HEREBY ORDERED:
   27
   28
                                                1                        16-cv-02054-JAH-BLM
Case 3:16-cv-02054-JAH-BLM Document 118 Filed 05/31/22 PageID.1848 Page 2 of 2




    1         1.    Defendants’ motion to dismiss (Doc. No. 56) is withdrawn without

    2 prejudice.
    3         2.    Defendants shall file an amended motion to dismiss, which is complete
    4 in and of itself without reference to the original motion or any previously filed brief,
    5 notice or response on the issue, no later than July 5, 2022.
    6         3.    Plaintiffs shall file their response to the amended motion to dismiss,
    7 which is complete in and of itself without reference to the original response or any
    8 previously filed brief, notice or response on the issue, no later than August 2, 2022.
    9
              4.    Defendants may file a reply no later than August 16, 2022. The
   10
        motion will be deemed under submission at that time without oral argument unless
   11
        otherwise ordered by the Court.
   12
   13         5.    Any previously asserted argument not included in the amended briefs

   14 will be considered waived.
   15         6.    The parties shall not file any supplemental briefs or notices of recent
   16 authority without first seeking leave of Court.
   17
        DATED: May 31, 2022
   18                                                ____________________________
   19                                                JOHN A. HOUSTON
                                                     United States District Judge
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                 2                         16-cv-02054-JAH-BLM
